















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 11th
Court of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Eastland,
Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion


Stephen Barton Chasteen

Appellant 

Vs.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Nos.
11-02-00250-CR &amp; 11-02-00251-CR B&nbsp; Appeals from Erath County

State of Texas 

Appellee

&nbsp;

In one
trial involving two indictments, a jury convicted appellant of sexual assault
of a child[1]
and aggravated assault with a deadly weapon.[2]&nbsp; The trial court assessed punishment for the
sexual assault of a child at 20 years confinement and a $10,000 fine. The trial
court assessed punishment for the aggravated assault with a deadly weapon at 10
years confinement.&nbsp; We affirm.

Appellant
brings one point of error in each appeal.&nbsp;
Appellant contends that the trial court erred when it sustained two
objections made by the State during appellant=s closing argument and then instructed the jury to disregard appellant=s arguments. 

In closing
arguments, defense counsel attempted to define reasonable doubt before the
jury.&nbsp; He first stated, AIf you say, I wonder about that, that=s reasonable doubt.@&nbsp; The
trial court sustained the State=s objection to the statement and, pursuant to the State=s request, instructed the jury that Athat is not a correct statement of the law.@&nbsp;
Defense counsel further argued, AIf you don=t feel
comfortable about finding him guilty, then there=s a reasonable doubt in your mind.@ The State objected to this statement also; and, after the trial court
sustained the objection, it instructed the jury to disregard the
statement.&nbsp; 

Beginning
in 1991, a trial court was required to define Areasonable doubt@ in the jury charge.&nbsp; Geesa v.
State, 820 S.W.2d 154, 162 (Tex.Cr.App.1991).&nbsp;
The charge required by Geesa stated in relevant part:

A Areasonable doubt@ is a doubt based on reason and common sense
after a careful and impartial consideration of all the evidence in the
case.&nbsp; It is the kind of doubt that
would make a reasonable person hesitate to act in the most important of his own
affairs.&nbsp; 








Proof
beyond a reasonable doubt, therefore, must be proof of such a convincing
character that you would be willing to rely and act upon it without hesitation
in the most important of your own affairs.

&nbsp;

Nine years later, the
Court of Criminal Appeals overruled that portion of Geesa requiring the
definition.&nbsp; The court held that Athe better practice is to give no definition
of reasonable doubt at all to the jury.@&nbsp; Paulson v. State, 28 S.W.3d
570, 573 (Tex.Cr.App.2000).&nbsp; In Paulson,
it was noted that the first definition was useless and that the second
definition was ambiguous.&nbsp; Paulson v.
State, supra at 572.&nbsp; Further, the third
definition was a fallacious application of the second definition.&nbsp;&nbsp; Paulson v. State, supra at 572.

An
argument similar to that made in this case was made in Billy v. State, 77
S.W.3d 427 (Tex.App. B
Dallas 2002, pet=n ref=d).&nbsp; In Billy, the
defendant=s attorney attempted to argue the Ahesitation@ type argument condemned in the jury charge in Paulson.&nbsp; The trial court refused to allow the
argument.&nbsp; The court in Billy v. State,
supra at 430, quoted the following language from Paulson:

If a
conscientious juror reads the Geesa charge and follows it literally, he
or she will never convict anyone.&nbsp;
Considerations utterly foreign to reasonable doubt might make a person
hesitate to act.&nbsp; The gravity of the
decision and the severity of its consequences should make one pause and
hesitate before doing even what is clearly and undoubtedly the right thing to
do.&nbsp; Judgments that brand men and women
as criminals, and take their money, their liberty, or their lives are deadly
serious.&nbsp; They are decisions that make
us hesitate if we have any human feelings or sensitivity at all.&nbsp; So to convict, a juror must either ignore
the definition, refuse to follow it, or stretch it to say something it does not
say.&nbsp; 

&nbsp;








Here,
following the reasoning in Paulson relating to the jury charge, there
are many reasons other than a reasonable doubt why a person might feel Auncomfortable@ in finding a person guilty or Awonder@ about something or the other.&nbsp; We agree with the reasoning in Paulson
and Billy and find that the arguments were misleading.&nbsp; An argument that misstates the law or is
contrary to the court=s
charge is improper.&nbsp; Melendez v. State,
4 S.W.3d 437 (Tex.App. B Houston [1st Dist.] 1999, no pet=n).&nbsp; Defense counsel may not
make statements about the State=s burden of proof that are inaccurate or misleading.&nbsp; Loar v. State, 627 S.W.2d 399, 401
(Tex.Cr.App.1981).&nbsp; Because the
statements made by defense counsel were misstatements and misleading, the trial
court did not err when it sustained the State=s objections to the statements.&nbsp;
Further, because defense counsel=s statements were erroneous, the trial court=s instruction to the jury was appropriate to
cure the effect of the erroneous statements.&nbsp;
See Martinez v. State, 17 S.W.3d 677 (Tex.Cr.App.2000).&nbsp; We overrule appellant=s sole point of error in each appeal.

The
judgments of the trial court are affirmed. 

&nbsp;

JIM
R. WRIGHT

JUSTICE

&nbsp;

January 30, 2003

Do not publish.&nbsp; See TEX.R.APP.P. 47.2(b).

Panel consists of: Arnot, C.J., and

Wright, J., and McCall, J.

&nbsp;











[1]Cause No. 11-02-00250-CR.





[2]Cause No. 11-02-00251-CR.







